                      United States District Court
                              EASTERN DISTRICT OF WISCONSIN

                                          COURT MINUTES

HON. William E. Duffin, presiding.                                     Deputy Clerk: Mary Murawski
DATE: December 12, 2018 at 1:00 P.M.                                   Court Reporter: John Schindhelm
CASE NO. 16-CR-021                                                     Time Called: 1:02 PM
UNITED STATES v. Samy Mohammed Hamzeh                                  Time Concluded: 4:27:00
PROCEEDING: Spoliation Hearing


UNITED STATES by: Benjamin Taibleson, Adam Ptashkin,
                  Special FBI Agent Jessica Krueger

DEFENDANT: Samy Mohammed Hamzeh, in person, and by
ATTORNEY: Craig Albee, Joseph Bugni



Summarizes the issues in the case.

1:04   Exhibits H and N presented.

1:06   Govt: No objection to Exhibits H and N.

1:10   Witness sworn.

1:10 Joshua Baer called to the stand by AUSA Adam Ptashkin. Witness works for the FBI
Counterintelligence Division as a Management and Program Analyst.

1:26   Cross examination.

1:32 Attorney Albee move for production of the items Mr. Baer reviewed in preparation for his testimony.
Asking for the ESOC’s procedures for collecting this information, and then the emails are relevant to when
these searches were undertaken.

1:33   Court will take it under consideration.

1:51   Court addresses Mr. Baer with questions.

1:53   Re-direct.

1:56   Re-cross.

2:01   Re-direct.
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2:02   Re-cross.

2:02   Witness steps down.

2:03   Witness sworn.

2:03 Neil Lee called to the stand by AUSA Adam Ptashkin. Witness works in the FBI Milwaukee office as a
Special Agent, CART Forensic Examiner.

2:08   Cross-examination.

2:13   Defense refers to Exhibit C.

2:23   Witness steps down.

2:24   Witness sworn.

2:24   FBI Agent Jonathan Adkins called to the stand by Attorney Craig Albee.

2:30   Defense refers to Exhibit H.

2:41   Defense refers to Exhibit G.

2:51   Defense refers to Exhibit A.

3:14   Cross-examination.

3:15   Witness steps down.

3:17   Court recess.

3:26   Reconvenes.

3:28   Permission to have a sidebar.

3:29   Witness sworn.

3:29 Joseph Zuraw called to the stand by Attorney Joseph Bugni. Witness works for U.S. Customs &
Border Protection. Work with FBI on their Joint Terrorism Task Force.

3:56   Defense refers to Exhibit L.

4:00   Cross-examination.

4:00   Witness steps down.

4:01   Witness sworn.

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4:01 Erick Fraser called to the stand by Attorney Joseph Bugni. Witness works with FBI, Special Agent
assigned to the Criminal Enterprise Squad.

4:09   Defense refers to Exhibit N.

4:13   Cross-examination.

4:13   Witness steps down.

4:13 Shavon Caygill called to the stand by Attorney Jospeh Bugni. Works for Federal Defenders Services in
Milwaukee.

4:15   Defense moves in Exhibits A-E.

4:16   Govt object that they are not 100% accurate.

4:17   Court receiveds A-E.

4:17   Witness steps down.

4:22 Exhibits A, B, C, D, E, G, H, I, K, N offered. Received. Except for G & H, all other exhibits will be
restricted now, but subject to a later determination if they should remain restricted to the parties.

4:22   Attorney Albee requesting 2 weeks to get transcript and then

COURT:
    - As to documents that defense believes have not been produced by the government and that have
       been asked for, communicate with each other. If there is still something out there that defense takes
       the position it exists and government is not producing, file a motion.

       -   Wait to get a transcript of this hearing and if the defense believes there is a basis for anything based
           on the testimony that has been received, file a motion.

           BRIEFING:
           Motions due: January 18, 2019.
           Govt’s response: January 25, 2019.
           Any replies: February 8, 2019.




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